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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO

Wendy Berry, Lorri Hulings, and Kathleen
Sammons, individually and as representatives of a            Case No. 1:18-cv-00326-MWW
class of similarly situated persons, and on behalf of
the FirstGroup America, Inc. Retirement Savings
Plan,

                         Plaintiffs,
v.

FirstGroup America, Inc., Aon Hewitt Investment
Consulting, Inc., and John Does 1-20,

                         Defendants.



   [PROPOSED] ORDER GRANTING JOINT MOTION TO VACATE SUMMARY
JUDGMENT DEADLINES AND TO SET DEADLINE FOR PLAINTIFF’S UNOPPOSED
         MOTION FOR PRELIMINARY SETTLEMENT APPROVAL


       Upon due consideration of Plaintiffs’ and Defendant Aon Hewitt Investment Consulting,

Inc.’s Motion to Vacate Summary Judgment Deadlines and to Set Deadline for Plaintiff’s

Unopposed Motion for Preliminary Settlement Approval, and finding good cause for the motion,

IT IS HEREBY ORDERED as follows:

       1.     Plaintiffs’ and Defendant Aon Hewitt Investment Consulting, Inc.’s Motion to

Vacate Summary Judgment Deadlines and to Set Deadline for Plaintiff’s Unopposed Motion for

Preliminary Settlement Approval is GRANTED.

       2.     The dispositive motion briefing schedule with respect to Plaintiffs’ claims against

Aon Hewitt is vacated.
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       3.      Plaintiffs will file their Unopposed Motion for Preliminary Approval of the

Settlement Agreement within seven (7) days following the Settling Parties’ receipt of plan

participant data from the Plan’s recordkeepers.




SO ORDERED.

Date: November ___, 2022                              _______________________________
                                                      HON. MATTHEW W. McFARLAND
                                                      United States District Court Judge




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